Case 2:11-cr-20066-SFC-EAS ECF No. 119, PageID.369 Filed 10/23/12 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

               Plaintiff,
                                                  Case No. 11-cr-20066-8 &
                                                  11-cr-20129-14
  vs.                                             Hon.: Robert H. Cleland

  MICHAEL RICH,

             Defendant.
  _________________________________/

               ORDER FOR NON-CUSTODIAL TRAVEL EXPENSES

        Defendant having appeared, bond being continued and upon Defendants’

  oral motion, and the Court being fully advised in the premises;

        IT IS HEREBY ORDERED that the U.S. Marshall furnish Defendant,

  Michael Rich, with one-way, non-custodial transportation from Detroit, Michigan

  to Birmingham, Alabama.

  Dated: October 23, 2012



                                           _s/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           United States District Judge
